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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

                                                   *

STANLEY M. GRABILL, JR.,                           *

             Plaintiff                             *

      v.                                           *                     CIVIL No. JKB-13-039

CORIZON, INC.,                                     *

           Defendant                               *

                                                   *
       *        *        *     *       *      *        *     *       *       *        *    *

                                              ORDER

       In accordance with the foregoing memorandum, it is ORDERED that:

       (1)       Defendant’s motion to dismiss (ECF No. 11) is GRANTED;

       (2)       Plaintiff’s motion for leave to file a supplemental certificate of merit and report

                 (ECF No. 13) is DENIED;

       (3)       The clerk is directed to CLOSE THIS CASE.



Dated this 31st day of July, 2013


                                                       BY THE COURT:



                                                                      /s/
                                                       James K. Bredar
                                                       United States District Judge




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